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                            UNITED STATES DISTRICT COURT
                                     for the District of Idaho


  FARM BUREAU MUTUAL                                             Case No.
  INSURANCE COMPANY OF IDAHO
  as subrogee of Martin Rodriguez and
  Lisa R. Rodriguez,                                             COMPLAINT AND DEMAND
                                                                 FOR JURY TRIAL
                             Plaintiff,
  v.
  UNITED STATES OF AMERICA,
                             Defendants.


                                          COMPLAINT

        Plaintiff, Farm Bureau Mutual Insurance Company of Idaho as subrogee of its insureds,

Martin Rodriguez and Lisa R. Rodriguez, by and through its attorneys, R. William Hancock and

Ryan B. Peck, attorneys-at-law, hereby alleges and states as follows:

                          PARTIES, JURISDICTION AND VENUE

        1.      Plaintiff, Farm Bureau Mutual Insurance Company of Idaho (“Farm Bureau”), is


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an Idaho corporation duly authorized to carry on the business of insurance in the State of Idaho

with its corporate headquarters located in Bannock County, Idaho.

       2.      Plaintiff provided automobile insurance coverage to Martin Rodriguez and Lisa

R. Rodriguez under Farm Bureau policy 01-171629-02.

       3.      Defendant, United States of America is an entity that acts through the U.S.

Department of Agriculture, a Cabinet level agency, and the U.S. Forest Service, a federal agency

within the Department of Agriculture. At all times material hereto, Larry K. Hartman was an

employee of the United States Forest Service and was acting in the course and scope of his

employment.

       4.      This court has jurisdiction pursuant to 28 U.S.C. § 1346 in that the Plaintiff seeks

an award of money damages against the United States for injury and/or loss of property caused

by the negligent or wrongful act or omission of an employee of the Government while acting

within the scope of his office or employment.

       5.      Venue is appropriate in Bonner County, Idaho, pursuant to 28 U.S.C. § 1391 and

Local Rule 3.1 due to the events or omissions giving rise to this claim having occurred in the

Federal District of Idaho, in the Northern Division of this District, in Bonner County.

       6.      Plaintiff has complied with U.S.C. § 2675 as Plaintiff’s claim for damages was

served on the United States Forest Service on December 14, 2018 and was subsequently denied

on July 12, 2019.

                           GENERAL FACTUAL ALLEGATIONS

       8.      Plaintiff, Farm Bureau provided automobile coverage to Martin and Lisa

Rodriguez (Policy Number 01-171629-02), which policy covered Mr. Rodriguez’s 2011



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Chevrolet Traverse and provided medical coverage in the event of an accident.

        9.         On or about December 20, 2016, Martin Rodriguez was operating the 2011

Chevrolet Traverse and heading southbound on 5th Avenue in Sandpoint with his wife, Lisa

Rodriguez as his passenger.

        10.        Shortly after 4pm the Rodríguezes were approaching the intersection of Church

Street when traffic slowed and stopped ahead of them to allow pedestrians to cross at the

crosswalk at Church Street. Mr. Rodriguez also came to a complete stop behind traffic.

        11.        At all times mentioned herein, Larry K. Hartman was the operator of a white 2006

Dodge truck owned by the United States Forest Service. Defendant Hartman was operating the

Forest Service Vehicle within the course and scope of his employment with Defendant United

States of America.

        12.        At all times mentioned herein, Larry K. Hartman was traveling southbound on 5th

Avenue behind the Rodríguezes at a greater speed then the current road conditions allowed,

when he failed to stop and struck the rear end of Mr. Rodriguez’s vehicle.

        13.        The collision caused damage to the vehicle owned by Mr. Rodriguez. Both Martin

and Lisa Rodriguez also received personal injuries requiring medical treatment.

        14.        Under the terms of Farm Bureau’s policy of insurance with the Rodríguezes

(Policy Number 01-171629-02), Farm Bureau paid medical expenses and damages to Mr.

Rodriguez’s vehicle either directly to the Rodríguezes or on their behalf in an amount to be

proven at trial.

        15.        Pursuant to Farm Bureau’s insurance policy with the Rodríguezes, as well as law

and equity, Farm Bureau is subrogated to the rights of the Rodríguezes regarding the actual cash



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value of any amounts paid by Farm Bureau as against those persons legally responsible for the

loss, including but not limited to, the named defendant, United States of America. The

subrogated amount which Farm Bureau is entitled to recover from the defendant will be

established at the trial of this matter and should be included in the total amount of damages to be

determined by the jury.

                                  FIRST CAUSE OF ACTION
                                       NEGLIGENCE

          16.    Plaintiff hereby incorporates and realleges each and every preceding paragraph as

if set forth in full herein.

          17.    Larry Hartman, as an employee of Defendant United States of America operated

the 2006 Dodge Forest Service truck in a negligent and careless manner and caused it to collide

with and damage Martin Rodriguez’s vehicle, as well as causing the Rodríguezes personal

injuries.

          18.    The negligent acts and/or omissions of Larry K. Hartman while operating this

vehicle were the proximate cause of, directly resulted in, and/or otherwise substantially

contributed to the Rodríguezes’ complained of damages in this action for which Defendant is

liable.

          19.    As a result of Defendant United States of America’s negligence, through the

actions of Larry K. Hartman, Plaintiff has been damaged in an amount to be determined by the

jury at trial.

                                 SECOND CAUSE OF ACTION
                                    NEGLIGENCE PER SE

          20.    Plaintiff hereby incorporates and realleges each and every preceding paragraph as



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if set forth in full herein.

        21.      Larry K. Hartman was negligent per se by violating I.C. § 49-638. Mr. Hartman

followed too closely than is reasonable or prudent and had no regard for the speed of the vehicle,

the traffic on the roadway, and the current condition of the roadway.

        22.      Larry K. Hartman was negligent per se by violating I.C. § 49-654. Mr. Hartman

drove the Forest Service vehicle at a greater speed than is reasonable and prudent under the

conditions and had no regard to the actual and potential hazards then existing.

        23.      Larry K. Hartman was negligent per se by violating I.C. § 49-1401(3). Mr.

Hartman’s conduct while driving was inattentive, careless, and imprudent in light of the

circumstances then existing.

        24.      The Idaho statutes including but not limited to those cited above, were designed to

prevent the type of harm caused by the acts and omissions of the Defendant through its

employee, Larry K. Hartman. Plaintiff’s insureds were members of the class of persons these

statutes were designed to protect, and the Defendant’s violations of the above cited statutes were

the proximate cause of injury to Plaintiff’s insureds.

                                  THIRD CAUSE OF ACTION
                                   VICARIOUS LIABILITY

        25.      Plaintiff hereby incorporates and realleges each and every preceding paragraph as

if set forth in full herein.

        26.      The negligence of Larry K. Hartman is imputed to Defendant, United States of

America, pursuant to the employer-employee relationship existing between them.

        27.      While operating the Forest Service vehicle, Larry K. Hartman was under the

United States of America’s direct supervision, employ, and control when he committed the

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negligent acts described herein.

       28.     Larry K. Hartman engaged in negligent conduct while acting in the course and

scope of his employment with the Forest Service, an agency of the United States of America.

       29.     Defendant United States of America is liable for the negligent conduct of Larry

Hartman under the law of vicarious liability, including the doctrine of respondeat superior.

                        CLAIM FOR ATTORNEY FEES AND COSTS

       Plaintiff has been required to file this Complaint and pursue this legal action against

Defendant and, therefore, Plaintiff is entitled to recover attorney fees and costs associated with

this legal action pursuant to I.C. § 12-121 and F.R.C.P 54.

                                     DEMAND FOR JURY TRIAL

       Pursuant to F.R.C.P. 38, Plaintiff hereby respectfully makes DEMAND for a jury trial of

all matters contested herein. Plaintiff does not consent to any panel of jurors consisting of fewer

than twelve (12) members.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against the Defendant as follows:

       1.      For money damages that will fully compensate Plaintiff for the damages it paid as

the result of the December 20, 2016 collision in an amount to be proven at trial; and

       2.      For any such other and further relief the Court deems just, equitable, appropriate,

and proper under the facts and circumstances of this case.

       DATED this 8th day of January 2020.


                                                   By    /s/ Ryan B. Peck_________________
                                                         Ryan B. Peck



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